                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 1 of 15 Page ID #:224


                                                                                                         1 TUCKER ELLIS LLP
                                                                                                           Brian K. Brookey - SBN 149522
                                                                                                         2 brian.brookey@tuckerellis.com
                                                                                                           Steven E. Lauridsen - SBN 246364
                                                                                                         3 steven.lauridsen@tuckerellis.com
                                                                                                           515 South Flower Street
                                                                                                         4 Forty-Second Floor
                                                                                                           Los Angeles, CA 90071
                                                                                                         5 Telephone:      213.430.3400
                                                                                                           Facsimile:      213.430.3409
                                                                                                         6
                                                                                                           Attorneys for Plaintiff,
                                                                                                         7 BACKGRID USA, INC.
                                                                                                         8
                                                                                                         9
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                                        10                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        11 BACKGRID USA, INC.,                      Case No. 2:19-cv-01476-RGK (KSx)
                                                                                                        12              Plaintiff,                  MEMORANDUM OF POINTS AND
                                                                                                                                                    AUTHORITIES IN SUPPORT OF
TUCKER ELLIS LLP




                                                                                                        13       v.                                 PLAINTIFF’S MOTION FOR
                                                                                                                                                    PARTIAL SUMMARY JUDGMENT
                                                                                                        14 FASHION NOVA, INC.                       AS TO WILLFUL COPYRIGHT
                                                                                                                                                    INFRINGEMENT AND
                                                                                                        15              Defendant.                  DEFENDANT’S FAIR USE
                                                                                                                                                    DEFENSE
                                                                                                        16
                                                                                                                                                    DATE:     March 23, 2020
                                                                                                        17                                          TIME:     9:00 a.m.
                                                                                                                                                    CTRM:     850
                                                                                                        18
                                                                                                                                                    Hon. R. Gary Klausner
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 2 of 15 Page ID #:225


                                                                                                         1
                                                                                                                                                      TABLE OF CONTENTS
                                                                                                         2
                                                                                                                                                                                                                             Page
                                                                                                         3
                                                                                                         4 I.       INTRODUCTION .................................................................................... 1

                                                                                                         5 II.      STATEMENT OF FACTS ....................................................................... 1
                                                                                                         6          A.      BackGrid and its Photographers ..................................................... 1
                                                                                                         7
                                                                                                                    B.      Fashion Nova’s Business Model .................................................... 2
                                                                                                         8
                                                                                                                    C.      Fashion Nova’s infringements ........................................................ 3
                                                                                                         9
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                             III.   FASHION NOVA IS LIABLE FOR WILLFUL COPYRIGHT
                                                                                                        10
                                                                                                                    INFRINGEMENT AS A MATTER OF LAW. ........................................ 6
                                                                                                        11
                                                                                                                    A.      Fashion Nova has infringed each of the copyrighted works at
                                                                                                        12                  issue. ............................................................................................... 6
                                                                                                        13
TUCKER ELLIS LLP




                                                                                                                            1.        It is undisputed that BackGrid owns valid copyrights. ........ 6
                                                                                                        14
                                                                                                                            2.        It is undisputed that Fashion Nova directly infringed
                                                                                                        15                            BackGrid’s copyrights.......................................................... 6
                                                                                                        16
                                                                                                                            3.        It is undisputed that Fashion Nova vicariously and
                                                                                                        17                            contributorily infringed BackGrid’s copyrights by
                                                                                                                                      directing third parties to post those images on Fashion
                                                                                                        18
                                                                                                                                      Nova’s behalf. ...................................................................... 7
                                                                                                        19
                                                                                                                    B.      Fashion Nova’s infringement was willful. ..................................... 9
                                                                                                        20
                                                                                                                    C.      Fashion Nova cannot prevail on its fair use defense. ..................... 9
                                                                                                        21
                                                                                                        22 IV.      CONCLUSION ....................................................................................... 10
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28

                                                                                                                                                                           i
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 3 of 15 Page ID #:226


                                                                                                         1                                             TABLE OF AUTHORITIES
                                                                                                         2                                                                                                                          Page
                                                                                                             Cases
                                                                                                         3
                                                                                                         4 A & M Records, Inc. v. Napster, Inc.,
                                                                                                             239 F.3d 1004 (9th Cir. 2001) .......................................................................................... 8
                                                                                                         5
                                                                                                           Apple Computer, Inc. v. Microsoft Corp.,
                                                                                                         6   759 F. Supp. 1444 (N.D. Cal. 1991)................................................................................. 7
                                                                                                         7 Cobbler Nevada, LLC v. Gonzales,
                                                                                                            901 F.3d 1142 (9th Cir. 2018) .......................................................................................... 8
                                                                                                         8
                                                                                                           Data East USA, Inc. v. Epyx, Inc.,
                                                                                                         9  862 F.2d 204 (9th Cir. 1988) ............................................................................................ 7
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 Ellison v. Robertson,
                                                                                                             357 F.3d 1072 (9th Cir. 2004) .......................................................................................... 8
                                                                                                        11
                                                                                                           Erickson Prods., Inc. v. Kast,
                                                                                                        12   921 F.3d 822 (9th Cir. 2019) ............................................................................................ 7
TUCKER ELLIS LLP




                                                                                                        13 Feist Publications v. Rural Telephone Service Co.,
                                                                                                             499 U.S. 340 (1991) ......................................................................................................... 6
                                                                                                        14
                                                                                                           Fox Broad. Co. v. Dish Network L.L.C.,
                                                                                                        15   747 F.3d 1060 (9th Cir. 2014) .....................................................................................9-10
                                                                                                        16 Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
                                                                                                             545 U.S. 913 (2005) ......................................................................................................... 8
                                                                                                        17
                                                                                                           Perfect 10, Inc. v. Amazon.com, Inc.,
                                                                                                        18   508 F.3d 1146 (9th Cir. 2007) .......................................................................................... 8
                                                                                                        19 Perfect 10, Inc. v. Visa Int’l Serv. Ass’n,
                                                                                                             494 F3d 788 (9th Cir. 2007) ............................................................................................. 8
                                                                                                        20
                                                                                                           Range Rd. Music, Inc. v. E. Coast Foods, Inc.,
                                                                                                        21   668 F.3d 1148 (9th Cir. 2012) .......................................................................................... 6
                                                                                                        22 S.O.S., Inc. v. Payday, Inc.,
                                                                                                             886 F.2d 1081 (9th Cir. 1989) .......................................................................................... 6
                                                                                                        23
                                                                                                           Seven Arts Filmed Entm’t Ltd. v. Content Media Corp.,
                                                                                                        24   733 F.3d 1251 (9th Cir. 2013) .......................................................................................... 6
                                                                                                        25 Three Boys Music Corp. v. Bolton,
                                                                                                             212 F.3d 477 (9th Cir. 2000) ............................................................................................ 7
                                                                                                        26
                                                                                                           Transgo, Inc. v. Ajac Transmission Parts Corp.,
                                                                                                        27   768 F.2d 1001 (9th Cir. 1985) .......................................................................................6-7
                                                                                                        28 United Fabrics Int’l, Inc. v. C&J Wear, Inc., 630 F.3d 1255 (9th Cir. 2011)..................... 6

                                                                                                                                                                            ii
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 4 of 15 Page ID #:227


                                                                                                         1                                     TABLE OF AUTHORITIES (CONT'D.)
                                                                                                         2                                                                                                                              Page
                                                                                                         3 VHT, Inc. v. Zillow Grp.,
                                                                                                             918 F.3d 723 (9th Cir. 2019) ........................................................................................ 7, 8
                                                                                                         4
                                                                                                           Statutes
                                                                                                         5
                                                                                                           17 U.S.C. § 106(5) ............................................................................................................... 6
                                                                                                         6 17 U.S.C. § 107 .................................................................................................................. 10
                                                                                                           17 U.S.C. § 201(d)(1)........................................................................................................... 6
                                                                                                         7 17 U.S.C. § 410(c) ............................................................................................................... 6
                                                                                                         8
                                                                                                         9
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10
                                                                                                        11
                                                                                                        12
TUCKER ELLIS LLP




                                                                                                        13
                                                                                                        14
                                                                                                        15
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28

                                                                                                                                                                             iii
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 5 of 15 Page ID #:228


                                                                                                         1 I.      INTRODUCTION
                                                                                                         2         Defendant Fashion Nova, Inc. (“Fashion Nova”) spends $20 million a year on social
                                                                                                         3 media. Unfortunately, that budget does not include licenses for photographs Fashion Nova
                                                                                                         4 uses on its social media platforms. Instead, Fashion Nova takes money from freelance
                                                                                                         5 photographers and their families by stealing their copyrighted works. Having now been
                                                                                                         6 caught by Plaintiff BackGrid USA, Inc. (“BackGrid”), Fashion Nova refuses to take
                                                                                                         7 responsibility, and instead is aggressively litigating a case in which it knows it has no
                                                                                                         8 defense.
                                                                                                         9         With respect to the copyrighted images at issue in this motion, there is no genuine
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 issue of material fact: Fashion Nova freely admits that it used BackGrid’s images without
                                                                                                        11 authorization, and that there is no basis for its affirmative defenses. Further, Fashion
                                                                                                        12 Nova’s willful blindness towards infringement—and its argument that any damages should
                                                                                                        13 be limited to what it would have paid had it sought licenses in the first place—demonstrate
TUCKER ELLIS LLP




                                                                                                        14 beyond dispute that the infringement was willful. Summary judgment of willful copyright
                                                                                                        15 infringement is therefore warranted.
                                                                                                        16 II.     STATEMENT OF FACTS
                                                                                                        17         A.    BackGrid and its Photographers
                                                                                                        18         BackGrid is a photograph agency for numerous freelance photographers. These
                                                                                                        19 photographers, referred to (often derisively) as “paparazzi,” purchase their own equipment
                                                                                                        20 and pay their own expenses in the pursuit of photographs of interest to the public. BackGrid
                                                                                                        21 helps these photographers earn a living by licensing their images to media outlets such as
                                                                                                        22 TMZ, People Magazine, and the Daily Mail, which then post them on their websites and
                                                                                                        23 social media platforms. BackGrid earns a commission on these licenses, but the majority
                                                                                                        24 of the licensing revenue goes to the entrepreneurial photographers BackGrid represents. In
                                                                                                        25 return, the photographers often will assign the copyrights in their photographs to BackGrid,
                                                                                                        26 which obtains copyright registrations for the images. When someone uses one of these
                                                                                                        27 photographer’s images without a license, that photographer is denied the compensation on
                                                                                                        28 which his or her livelihood depends. Declaration of Steven Ginsburg (“Ginsburg Decl.”),

                                                                                                                                                         1
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 6 of 15 Page ID #:229


                                                                                                         1 ¶¶ 2-3.
                                                                                                         2       This case involves the use by Fashion Nova of five such copyrighted images, four
                                                                                                         3 of which are the subject of BackGrid’s motion for summary judgment.1 In each instance,
                                                                                                         4 a photographer sent the photo to BackGrid, which later registered the copyright for that
                                                                                                         5 photo. Each photo was licensed to a third party, including the Daily Mail, and posted on
                                                                                                         6 the Internet. Ginsburg Decl., ¶¶ 4-6. And each photo was then used by Fashion Nova to
                                                                                                         7 promote its own business, without a penny paid to the photographers.
                                                                                                         8         B.    Fashion Nova’s Business Model
                                                                                                         9         Fashion Nova is a “fast fashion” apparel company, with both online and “brick and
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 mortar stores.” Fashion Nova spends $20 million on its social media advertising, with at
                                                                                                        11 least eighteen employees working on social media. As part of this program, Fashion Nova
                                                                                                        12 sends products to “influencers” for them to wear or otherwise display on the influencers’
TUCKER ELLIS LLP




                                                                                                        13 Instagram pages and other social media platforms. Fashion Nova does not charge these
                                                                                                        14 influencers for the products; in fact, it often pays influencers instead of or in addition to
                                                                                                        15 providing them free goods. Fashion Nova requires the influencers to “tag” Fashion Nova
                                                                                                        16 and include a caption that mentions the brand. Deposition of Kimberly Lee (“Lee Dep.”),
                                                                                                        17 Ex. 1 to Declaration of Brian K. Brookey (“Brookey Decl.”), at 12:2-13:24, 21:25-23:6,
                                                                                                        18 177:8-21.
                                                                                                        19         Fashion Nova also contracts with at least 100 media outlets for them to post photos
                                                                                                        20 featuring Fashion Nova products. In doing so, Fashion Nova downloads a photo posted by
                                                                                                        21 one of its influencers, and then sends that photo to a media outlet along with the text of an
                                                                                                        22 accompanying caption. Even when the photo is obviously taken by someone other than the
                                                                                                        23 influencer, Fashion Nova does nothing to assure itself that re-posting would not infringe
                                                                                                        24 any third party’s rights. At most, Fashion Nova may ask the influencer if he or she has a
                                                                                                        25 legal right to use the photo—a question to which the influencers answer “yes” 100% of the
                                                                                                        26 time. Id. at 14:23-16:13, 16:10-17, 18:5-19:4, 31:1-33:25.
                                                                                                        27
                                                                                                        28   1 The fifth copyrighted photo, of an individual known as Blac Chyna, raises questions of
                                                                                                             fact and thus is not appropriate for summary judgment. BackGrid expects to prove
                                                                                                             infringement of that copyright at trial.
                                                                                                                                                         2
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 7 of 15 Page ID #:230


                                                                                                         1        Finally, Fashion Nova has its own social media accounts. Even though it has its own
                                                                                                         2 in-house studio, Fashion Nova will also lift photos it finds on the Internet to post on its
                                                                                                         3 social media accounts. Fashion Nova does not undertake any more effort to ensure this
                                                                                                         4 photos infringe than it does when communicating with its influencers and media outlets.
                                                                                                         5 Id. at 35:16-38:2.
                                                                                                         6        C.     Fashion Nova’s infringements
                                                                                                         7        On June 29, 2017, Fashion Nova sent an e-mail to media outlet WorldStar, attaching
                                                                                                         8 a photo of Amber Rose and 21 Savage, and providing a caption for the photo. Fashion
                                                                                                         9 Nova did the same with respect to photos of Amber Rose by herself, and of Kourtney
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 Kardashian and Larsa Pippen. Lee Dep. at 111:18-113:5,115:11- 116:20, 121:2-123:3, and
                                                                                                        11 Exhibits 15, 16, 18. Fashion Nova obtained the photos from the social media accounts of
                                                                                                        12 certain of the influencers depicted in these photos. Fashion Nova knew that it did not have
TUCKER ELLIS LLP




                                                                                                        13 a license to use the photos, but did not even bother to ask the influencers whether they had
                                                                                                        14 the right to do so. Lee Dep., at 48:2-48:12.
                                                                                                        15        At deposition, Fashion Nova freely admitted that each of these photos was the same
                                                                                                        16 as a copyrighted photo owned by BackGrid. Lee Dep., at 105:14-106:20, 114:2-115:5,
                                                                                                        17 121:2-19. A side by side comparison makes this very evident:
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27     Copyright Reg. No. VA0002069876
                                                                                                                                                                    Fashion Nova’s Post
                                                                                                                   [Amber Rose/21 Savage]
                                                                                                        28

                                                                                                                                                          3
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 8 of 15 Page ID #:231


                                                                                                         1
                                                                                                         2
                                                                                                         3
                                                                                                         4
                                                                                                         5
                                                                                                         6
                                                                                                         7
                                                                                                         8
                                                                                                         9
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10
                                                                                                        11
                                                                                                        12
TUCKER ELLIS LLP




                                                                                                        13
                                                                                                        14                                                    Fashion Nova’s Post
                                                                                                              Copyright Reg. No. VA0002069872
                                                                                                        15             [Amber Rose]
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                              Copyright Reg. No. VA0002062268
                                                                                                        28   [Kourtney Kardashain/Larsa Pippen]               Fashion Nova’s Post


                                                                                                                                                   4
                                                                                                         Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 9 of 15 Page ID #:232


                                                                                                         1 Ginsburg Decl. Exs. 2, 4-5, 7, 9-10, 12, 14-16.
                                                                                                         2         Fashion Nova reposted the identical image of Kourtney Kardashian on Instagram on
                                                                                                         3 July 27, 2017. Again, Fashion Nova posted the image knowing it had not taken the photo,
                                                                                                         4 and without doing any investigation into whether it had the right to post it. Lee Dep., at
                                                                                                         5 183:5-184:1, 185:21-186:10 and Ex. 32.
                                                                                                         6         After BackGrid first learned that Fashion Nova was infringing its copyrights, it
                                                                                                         7 contacted Fashion Nova and attempted to negotiate a settlement short of litigation, which
                                                                                                         8 would compensate the photographers for the theft of their photos. Fashion Nova not only
                                                                                                         9 rebuffed BackGrid’s efforts, but after being put on notice of its earlier infringement, it
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 posted another infringing photograph via its Twitter account. Ginsburg Decl., ¶ 18 and
                                                                                                        11 Ex. 22. Fashion Nova did this knowing that it did not have a license for the photograph,
                                                                                                        12 without asking its influencer whether she had rights in the photograph, and after already
TUCKER ELLIS LLP




                                                                                                        13 facing claims of copyright infringement. Once again, Fashion Nova confirmed that the
                                                                                                        14 photo it tweeted is the same as a copyrighted image asserted against it in this litigation. Lee
                                                                                                        15 Dep., at 88:8-18, 90:21-92:25; Ginsburg Decl. Exs. 18, 20-21.
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25                                                            Fashion Nova’s Tweet
                                                                                                        26
                                                                                                                Copyright Reg. No. VA0002096161
                                                                                                        27       [Kourtney Kardashian/Younes
                                                                                                        28                 Bendjima]


                                                                                                                                                          5
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 10 of 15 Page ID #:233


                                                                                                         1 III.    FASHION        NOVA        IS   LIABLE        FOR      WILLFUL        COPYRIGHT
                                                                                                         2         INFRINGEMENT AS A MATTER OF LAW.
                                                                                                         3         A.    Fashion Nova has infringed each of the copyrighted works at issue.
                                                                                                         4         “To establish infringement, two elements must be proven: (1) ownership of a valid
                                                                                                         5 copyright, and (2) copying of constituent elements of the work that are original.” Feist
                                                                                                         6 Publications v. Rural Telephone Service Co., 499 U.S. 340, 361 (1991); see also Seven
                                                                                                         7 Arts Filmed Entm’t Ltd. v. Content Media Corp., 733 F.3d 1251, 1254 (9th Cir. 2013).
                                                                                                         8 “The word ‘copying’ is shorthand for the infringing of any of the copyright owner’s
                                                                                                         9 exclusive rights . . . .” Range Rd. Music, Inc. v. E. Coast Foods, Inc., 668 F.3d 1148, 1153–
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 54 (9th Cir. 2012); cf. 17 U.S.C. § 106(5) (exclusive right to display the work publicly).
                                                                                                        11               1.     It is undisputed that BackGrid owns valid copyrights.
                                                                                                        12         A copyright registration is “prima facie evidence of the validity of the copyright and
TUCKER ELLIS LLP




                                                                                                        13 the facts stated in the certificate.” United Fabrics Int’l, Inc. v. C&J Wear, Inc., 630 F.3d
                                                                                                        14 1255, 1257 (9th Cir. 2011) (quoting 17 U.S.C. § 410(c)). Thus, Fashion Nova bears the
                                                                                                        15 burden of rebutting the facts set forth in the certificate. Id. (citing S.O.S., Inc. v. Payday,
                                                                                                        16 Inc., 886 F.2d 1081, 1085-86 (9th Cir. 1989)). Fashion Nova cannot do so here.
                                                                                                        17         BackGrid possesses copyright registration certificates for each of the images at issue
                                                                                                        18 in this motion. Ginsburg Decl., Exs. 1, 6, 11, 17. Those certificates list BackGrid as the
                                                                                                        19 owner by assignment of each of the images, and it cannot be disputed that the original
                                                                                                        20 photographers assigned their rights in each of the images to BackGrid. Id., Exs. 3, 8, 13,
                                                                                                        21 19; cf. 17 U.S.C. § 201(d)(1) (explaining that a copyright may be transferred in whole or
                                                                                                        22 in part by any means of conveyance). The undisputed facts therefore show that BackGrid
                                                                                                        23 is the owner of each of the asserted copyrights, and the first infringement element is
                                                                                                        24 therefore met.
                                                                                                        25               2.     It is undisputed that Fashion Nova directly infringed BackGrid’s
                                                                                                        26                      copyrights.
                                                                                                        27         “The test of infringement is whether the work is recognized by an ordinary observer
                                                                                                        28 as having been taken from the copyrighted source.” Transgo, Inc. v. Ajac Transmission

                                                                                                                                                          6
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 11 of 15 Page ID #:234


                                                                                                         1 Parts Corp., 768 F.2d 1001, 1018 (9th Cir. 1985). “Because direct evidence of copying is
                                                                                                         2 rare, copying may be established by circumstantial evidence of access and substantial
                                                                                                         3 similarity of ideas and the expression between the copyrighted work and the alleged
                                                                                                         4 infringing work.” Apple Computer, Inc. v. Microsoft Corp., 759 F. Supp. 1444, 1453 (N.D.
                                                                                                         5 Cal. 1991) (citing Data East USA, Inc. v. Epyx, Inc., 862 F.2d 204, 206 (9th Cir. 1988)).
                                                                                                         6        This, however, is one of those rare cases where direct evidence of copying exists. As
                                                                                                         7 explained above, Fashion Nova admits that it took the copyrighted BackGrid image of
                                                                                                         8 Kourtney Kardashian and Larsa Pippen and posted that photo directly on Instagram and
                                                                                                                                                                                                 2
                                                                                                         9 that it posted the image of Kourtney Kardashian and Younes Bendjima on Twitter. There
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 is no dispute that Fashion Nova infringed.
                                                                                                        11        Still, summary judgment would be appropriate even in the absence of Fashion
                                                                                                        12 Nova’s confession. Copying may be established by proof of access and substantial
                                                                                                        13 similarity. Id. “[I]n the absence of any proof of access, a copyright plaintiff can still make
TUCKER ELLIS LLP




                                                                                                        14 out a case of infringement by showing that the [images] were ‘strikingly similar.’” Three
                                                                                                        15 Boys Music Corp. v. Bolton, 212 F.3d 477, 485 (9th Cir. 2000). Here, a simple side-by-side
                                                                                                        16 comparison shows that the works at issue and Fashion Nova’s posted images are not only
                                                                                                        17 “strikingly similar” but also identical. Thus, access is presumed and this element is met for
                                                                                                        18 this additional reason, and summary judgment of direct infringement is appropriate as a
                                                                                                        19 matter of law.
                                                                                                        20               3.     It is undisputed that Fashion Nova vicariously and contributorily
                                                                                                        21                      infringed BackGrid’s copyrights by directing third parties to post
                                                                                                        22                      those images on Fashion Nova’s behalf.
                                                                                                        23        “A party engages in contributory copyright infringement when it ‘(1) has knowledge
                                                                                                        24 of another’s infringement and (2) either (a) materially contributes to or (b) induces that
                                                                                                        25 infringement.’” Erickson Prods., Inc. v. Kast, 921 F.3d 822, 831 (9th Cir. 2019) (quoting
                                                                                                        26 VHT, Inc. v. Zillow Grp., 918 F.3d 723, 745 (9th Cir. 2019)). The Ninth Circuit “has
                                                                                                        27 adopted the well-settled rule that ‘[o]ne infringes contributorily by intentionally inducing
                                                                                                        28
                                                                                                             2These images are the subjects of Copyright Reg. Nos. VA0002062268 and
                                                                                                             VA000296161, respectively.
                                                                                                                                                          7
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 12 of 15 Page ID #:235


                                                                                                         1 or encouraging direct infringement.’” Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142,
                                                                                                         2 1147 (9th Cir. 2018) (quoting Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1170
                                                                                                         3 (9th Cir. 2007) (alteration in original) (quoting Metro-Goldwyn-Mayer Studios, Inc. v.
                                                                                                         4 Grokster, Ltd., 545 U.S. 913, 930 (2005)). “Stated differently, ‘liability exists if the
                                                                                                         5 defendant engages in personal conduct that encourages or assists the infringement.” Id.
                                                                                                         6          Similarly, with respect to vicarious infringement, copyright law “allows imposition
                                                                                                         7 of liability when the defendant profits directly from the infringement and has a right and
                                                                                                         8 ability to supervise the direct infringer, even if the defendant initially lacks knowledge of
                                                                                                         9 the infringement.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 n.9 (2005); see also Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (“A
                                                                                                        11 defendant is vicariously liable for copyright infringement if he enjoys a direct financial
                                                                                                        12 benefit from another’s infringing activity and ‘has the right and ability to supervise’ the
TUCKER ELLIS LLP




                                                                                                        13 infringing activity”) (quoting A & M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013
                                                                                                        14 (9th Cir. 2001)). Vicarious infringement is therefore most commonly identified as having
                                                                                                        15 two elements: the defendant must have had both (1) the “right and ability to supervise the
                                                                                                        16 infringing activity” and (2) “a direct financial interest” in the activity. A&M Records, Inc.
                                                                                                        17 v. Napster, Inc., 239 F.3d 1004, 1022 (9th Cir. 2001); see also VHT, Inc. v. Zillow Grp.,
                                                                                                        18 Inc., 918 F.3d 723, 745 (9th Cir. 2019).
                                                                                                        19          Implicit in the first element is that the defendant could have prevented the
                                                                                                        20 infringement, but did not. “One . . . infringes vicariously by profiting from direct
                                                                                                        21 infringement while declining to exercise a right to stop or limit it.” Metro-Goldwyn-Mayer
                                                                                                        22 Studios Inc., 545 U.S. at 930. “To escape imposition of vicarious liability, the reserved
                                                                                                        23 right to police must be exercised to its fullest extent.” A&M Records, Inc., 239 F.3d at
                                                                                                        24 1023; Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F3d 788, 805 (9th Cir. 2007) (“[T]he
                                                                                                        25 defendant must have the right and ability to supervise and control the infringement, not just
                                                                                                        26 affect it . . . .”).
                                                                                                        27          Again, that Fashion Nova used BackGrid’s images is not in dispute. Fashion Nova
                                                                                                        28 admits that it sent BackGrid’s copyrighted images of Amber Rose (by herself and with 21

                                                                                                                                                         8
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 13 of 15 Page ID #:236


                                                                                                         1 Savage), and of Kourtney Kardashian and Larsa Pippen, to media outlets WorldStar and
                                                                                                                         3
                                                                                                         2 Baller Alert. Fashion Nova instructed and paid those companies to post the images, and
                                                                                                         3 even drafted the content for the posts. The infringement was part of a $20-million social
                                                                                                         4 media program designed to drive brand awareness, sales, and internet traffic—a program
                                                                                                         5 that Fashion Nova characterizes as successful in driving sales of its products. See Lee Dep.
                                                                                                         6 at, e.g., 14:23-15:17, 22:15-23, 24:25-25:20. Thus, Fashion Nova obtained a financial
                                                                                                         7 benefit from the infringements.
                                                                                                         8         Fashion Nova concedes that it is the author of the third-party posts it directed. Lee
                                                                                                         9 Dep., at 182:22-25. It must be held liable for the infringement it caused. Summary
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 judgment that Fashion Nova vicariously and contributorily infringed is appropriate as a
                                                                                                        11 matter of law.
                                                                                                        12         B.    Fashion Nova’s infringement was willful.
TUCKER ELLIS LLP




                                                                                                        13         The entirety of Fashion Nova’s efforts to avoid infringement is to ask the influencers
                                                                                                        14 whose photos Fashion Nova uses whether those influencers had the rights to post them.
                                                                                                        15 The influencers, who are paid by Fashion Nova and/or supplied with free goods, always
                                                                                                        16 tell their benefactor “yes,” and Fashion Nova takes them at their word. If that type of
                                                                                                        17 flippant, credulous approach to avoiding infringement were not bad enough, Fashion Nova
                                                                                                        18 did not even go to that much effort with respect to the images at issue here. And if that was
                                                                                                        19 not bad enough, even after BackGrid accused Fashion Nova of infringement, Fashion Nova
                                                                                                        20 did not ask influencers whether they had rights in the photos—leading Fashion Nova to
                                                                                                        21 tweet another copyrighted BackGrid image. Lee Dep., 14:23-16:13, 16:10-17, 31:1-33:25,
                                                                                                        22 88:8-20. This is the definition of recklessness and willful blindness. A party cannot avoid
                                                                                                        23 a finding of willfulness by adopting a policy of “infringe now, ask questions later.” There
                                                                                                        24 is no genuine dispute as to the willfulness of Fashion Nova’s infringements.
                                                                                                        25         C.    Fashion Nova cannot prevail on its fair use defense.
                                                                                                        26         In its ever shifting defense theories, Fashion Nova has asserted that its copying of
                                                                                                        27 BackGrid’s images was fair use. Fair use is generally an affirmative defense. See e.g., Fox
                                                                                                        28
                                                                                                             3 These
                                                                                                                   images are the subjects of Copyright Reg. Nos. VA0002069872, VA0002069876
                                                                                                             and VA0002062268, respectively.
                                                                                                                                                          9
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 14 of 15 Page ID #:237


                                                                                                         1 Broad. Co. v. Dish Network L.L.C., 747 F.3d 1060, 1068 (9th Cir. 2014). Thus Fashion
                                                                                                         2 Nova bears the burden of showing its use was fair. Id. “In determining whether the use
                                                                                                         3 made of a work in any particular case is a fair use the factors to be considered shall
                                                                                                         4 include—(1) the purpose and character of the use, including whether such use is of a
                                                                                                         5 commercial nature or is for nonprofit educational purposes; (2) the nature of the
                                                                                                         6 copyrighted work; (3) the amount and substantiality of the portion used in relation to the
                                                                                                         7 copyrighted work as a whole; and (4) the effect of the use upon the potential market for or
                                                                                                         8 value of the copyrighted work.” 17 U.S.C. § 107.
                                                                                                         9        Here, Fashion Nova admits that its use is entirely commercial, and that it uses the
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 infringing posts to drive sales and brand awareness. See Lee Dep., at, e.g., 22:24-23:12,
                                                                                                        11 24:25-25:13. The copyrighted works are photographs taken by skilled entrepreneurs whose
                                                                                                        12 livelihood depends on getting paid for their efforts. When infringers like Fashion Nova
TUCKER ELLIS LLP




                                                                                                        13 take those works for free, that reduces the market for the works and directly impacts the
                                                                                                        14 photographers. Ginsburg Decl., ¶¶ 2-3. Thus, Fashion Nova cannot establish fair use as a
                                                                                                        15 matter of law.
                                                                                                        16 IV.    CONCLUSION
                                                                                                        17        If Fashion Nova wants to use candid photographs of celebrities to promote its brands,
                                                                                                        18 its choices are to hire someone to take those photographs for it or to license the
                                                                                                        19 photographs. Fashion Nova decided to do neither. Instead, with its $20 million budget, it
                                                                                                        20 decided to deny photographers their compensation by using any photograph they wanted.
                                                                                                        21 It was so cavalier about the possibility of infringement, even after it was accused of
                                                                                                        22 infringing, it did not bother even asking anyone whether using the photographs was
                                                                                                        23 permitted. Even now, Fashion Nova acts as though it did nothing wrong. It went so far as
                                                                                                        24 to retain an expensive expert witness on damage to opine that its damages should be limited
                                                                                                        25 to the amount he believes Fashion Nova would have paid if it had obeyed the law in the
                                                                                                                         4
                                                                                                        26 first place. In other words, Fashion Nova’s response to being caught committing multiple
                                                                                                        27 acts of copyright infringement is “So what?” Determining the appropriate amount of
                                                                                                        28
                                                                                                             4 Brookey   Decl., ¶ 4.
                                                                                                                                                        10
                                                                                                        Case 2:19-cv-01476-RGK-KS Document 38-3 Filed 02/20/20 Page 15 of 15 Page ID #:238


                                                                                                         1 statutory damages and attorneys’ fees is not yet before the Court. But it is obvious that it
                                                                                                         2 will take a significant award if Fashion Nova is to be deterred in the future from denying
                                                                                                         3 hard-working photographers their livelihoods. Finding Fashion Nova liable now is the first
                                                                                                         4 step towards properly compensating BackGrid and the photographers it represents and
                                                                                                         5 zealously seeks to protect. Summary judgment of willful infringement is therefore
                                                                                                         6 appropriate.
                                                                                                         7
                                                                                                         8                                              Tucker Ellis LLP
                                                                                                             DATED: February 20, 2020
                                                                                                         9
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10                                              By:    /s/Brian K. Brookey
                                                                                                        11                                                     Brian K. Brookey
                                                                                                                                                               Steven E. Lauridsen
                                                                                                        12
                                                                                                                                                               Attorneys for Plaintiff,
TUCKER ELLIS LLP




                                                                                                        13                                                     BACKGRID USA, INC.
                                                                                                        14
                                                                                                        15
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28

                                                                                                                                                        11
